      Case 1:19-gj-00048-BAH Document 5 Filed 07/31/19 Page 1 of 2



                 THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
IN RE: APPLICATION OF THE COMMITTEE )
ON THE JUDICIARY, U.S. HOUSE OF            )
REPRESENTATIVES, FOR AN ORDER             ) No. 19-gj-48 (BAH)
AUTHORIZING THE RELEASE OF CERTAIN )
GRAND JURY MATERIALS                      )
__________________________________________)

                           PROPOSED SCHEDULING ORDER

          In accordance with the Court’s minute order of July 26, 2019, the parties have

conferred and jointly propose the following schedule to govern the proceedings in this

matter:

September 13, 2019 – the Department of Justice files its response to the application;

September 30, 2019 – Petitioner files its reply.

          Petitioner requests that the Court thereafter schedule oral argument. The

Department of Justice believes the matter can be decided on the papers, but defers to the

Court as to whether or not oral argument would be helpful.

Dated: July 31, 2019                           Respectfully submitted,

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                                               Assistant Attorney General

                                               JAMES M. BURNHAM
                                               Deputy Assistant Attorney General

                                               /s/ Elizabeth J. Shapiro
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Case 1:19-gj-00048-BAH Document 5 Filed 07/31/19 Page 2 of 2



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